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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
VOYAGER DIGITAL HOLDINGS, INC., et al., :                          Case No. 22-10943 (MEW)
                                                               :
                                                               :   (Jointly Administered)
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
VOYAGER DIGITAL HOLDINGS, INC., et al., :
                                                               :
                                    Plaintiffs,                :   Adv. Proc. No. 22-01138 (MEW)
                                                               :
PIERCE ROBERTSON, et al.,                                      :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------x

                    OBJECTION OF DEFENDANTS TO DEBTORS’
                   MOTION TO EXTEND THE AUTOMATIC STAY
               OR, IN THE ALTERNATIVE, FOR INJUNCTIVE RELIEF
           ENJOINING PROSECUTION OF CERTAIN PENDING LITIGATION




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        Defendant Pierce Robertson and the other defendants in the above-captioned adversary

proceeding (collectively, the “Robertson Defendants”) object (the “Objection”) to (a) The Debtors’

Motion to Extend the Automatic Stay or, in the Alternative, for Injunctive Relief Enjoining

Prosecution of Certain Pending Litigation [Adv. Dkt. No. 2] (the “Motion”) and (b) the joinder to

the Motion filed by the Cuban Parties (as defined below) [Adv. Dkt. No. 8].1 In support of this

Objection, the Robertson Defendants respectfully state as follows:

                                 I.   PRELIMINARY STATEMENT

        By the Motion, the Debtors seek to halt the pursuit of the Robertson Defendants’ direct

claims against non-debtor third parties for their respective independent wrongdoing that caused

substantial harm to the Robertson Defendants.

        The Robertson Defendants commenced their putative class action lawsuit (the “Action”)

in the United States District Court for the Southern District of Florida (the “S.D. Fla. Court”)

against Stephen Ehrlich, the Debtors’ Chief Executive Officer and co-founder (“Ehrlich”), Mark

Cuban, a promoter of the Debtors and their cryptocurrency business, and Dallas Basketball Limited

d/b/a Dallas Mavericks (collectively, “Cuban” or the “Cuban Parties”), captioned Robertson et al.

v. Cuban et al., No. 1:22-cv-22538-RKA (S.D. Fla. Aug. 10, 2022), asserting, inter alia, claims

for violations of applicable securities laws and consumer protection laws, aiding and abetting fraud

and breach of fiduciary duties, and civil conspiracy. To the extent the Motion is denied (which it

should be), the Robertson Defendants will file an amended Complaint in the Action, substantially


1   Capitalized terms not otherwise defined herein shall have the meanings set forth in the Motion. All citations
    herein to “Adv. Dkt. No. __” refer to the adversary proceeding docket in Adv. Proc. No. 22-01138 (MEW). All
    citations to “Bankr. Dkt. No. __” refer to the docket in the Debtors’ lead chapter 11 case, Case No. 22-10943
    (MEW).



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in the form attached hereto as Exhibit A (as amended, the “Complaint”), which removes various

causes of action that the Committee asserts belong to the Debtors’ estates, such as claims for breach

of fiduciary duty.2 The only remaining claims in the Complaint are direct third party claims against

non-debtors.3

        Specifically, the Complaint seeks to hold Ehrlich and Cuban accountable for their own

malfeasance (not the Debtors’ malfeasance) and seeks redress from Ehrlich and Cuban on account

of the Robertson Defendants’ own direct claims against Ehrlich and Cuban (not derivative or other

claims belonging to the estates). Although the Robertson Defendants believe that this Action

against non-debtor parties should be allowed to proceed unfettered, the Robertson Defendants

consent to having the Action enjoined solely as against Ehrlich until the earlier of (a) the effective

date of a confirmed chapter 11 plan in the Debtors’ chapter 11 cases (the “Chapter 11 Cases”), (b)

conversion of the Chapter 11 Cases to chapter 7, and (c) December 31, 2022 (“Stay Termination

Date”).4

        However, the Action should be allowed to proceed as to the Cuban Parties. Tellingly, the

Motion makes very few specific references to the Cuban Parties, and instead substantively focuses

on Ehrlich, the Debtors’ Chief Executive Officer and co-founder, and how the Action vis-à-vis

2   The form of amended Complaint will be filed on or before seven (7) calendar days prior to the hearing on the
    Motion.

3   The Robertson Defendants reserve all of their rights with respect to the Complaint and the Action, including,
    without limitation, further amending the Complaint.
4   As discussed further herein, the Debtors have filed a motion for approval of an asset purchase agreement with a
    third party [Bankr. Dkt. No. 472], and under the proposed asset purchase agreement (Sec. 8.1(i)(iv)), a
    confirmation order must be entered in the Chapter 11 Cases by December 15, 2022 and said order must be a final
    order by December 31, 2022. The foregoing supports and is in line with the Robertson Defendants’ position that
    the Action in relation to Ehrlich should not be stayed beyond December 31, 2022.



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Ehrlich allegedly impacts the Debtors and their estates.

          There is no basis in fact or law for staying the Action against the Cuban Parties. Cuban is

not a director, officer, or other insider of the Debtors, and the Debtors’ arguments in the Motion

made in relation to Ehrlich are generally inapplicable to Cuban. Further, the Debtors have failed

to articulate any extraordinary circumstances justifying an extension of the automatic stay to, or

the imposition of an injunction against, the Action under Second Circuit law. Accordingly, the

Motion should be denied.

                                       II. BACKGROUND

         1.        On July 5, 2022, each of the Debtors filed a voluntary petition for relief under

chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the Southern District of New York, thereby commencing the Chapter 11

Cases.

         2.        On July 19, 2022, the U.S. Trustee appointed the Official Committee of Unsecured

Creditors in the Chapter 11 Cases (the “Committee”).

         3.        On August 10, 2022, the Debtors initiated the above-captioned adversary

proceeding against the Robertson Defendants and filed the Motion to extend the automatic stay

under section 362 to, or in the alternative, to enjoin the prosecution under section 105(a) of, the

Action.

         4.        On August 12, 2022, the Debtors filed their First Amended Joint Plan of

Reorganization [Bankr. Dkt. No. 287] (the “Proposed Plan”). It is plainly evident that the




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Proposed Plan is a placeholder plan missing key detail and information.5 For example, the

Proposed Plan provides for general unsecured creditors to receive their pro rata share of the

“Claims Allocation Pool,” but that capitalized term is not defined. See Proposed Plan, pp. 4 and

20. Moreover, as discussed further below, the Proposed Plan is subject to significant risks and

uncertainties relating to federal and state securities law matters, as acknowledged by the Debtors

themselves, which could outright thwart confirmation of the Proposed Plan or other reorganization

plan (as well as thwart, notably, a sale of the Debtors’ digital and related assets) and/or delay the

effectiveness of any confirmed plan for many months if not longer. As noted below, the Debtors

recently filed a motion to sell substantially all of their assets to a third party pursuant to an asset

purchase agreement, one implication of which is that the Proposed Plan will be amended to be a

liquidating plan.

       5.          On August 31, 2022, the S.D. Fla. Court entered an order, among other things,

staying the Action and administratively closing the Action without prejudice to the parties.

       6.          On September 9, 2022, the S.D. Fla. Court entered a subsequent order (the

“September 9 Order”) maintaining that the Action shall remain administratively closed, subject to

the Bankruptcy Court’s ruling on the Motion.              Pursuant to the September 9 Order, if the

Bankruptcy Court permits the Action to proceed, any party in the Action may move to reopen the




5   The Robertson Defendants have filed an objection to the Debtors’ proposed disclosure statement [Bankr. Dkt.
    No. 443], which includes certain objections to the Proposed Plan.


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Action – and the Robertson Defendants plan to move to reopen the Action upon denial of the

Motion.

       7.          On August 26, 2022, the Committee filed a motion to intervene in the Action [Adv.

Dkt. No. 9] (“Motion to Intervene”), asserting, among other things, that any estate assets that are

the subject of the Action “must be preserved while the Committee conducts its investigation into

various potential estate causes of action, including potential actions against certain of the Class

Action Defendants.” Motion to Intervene at ¶ 22. The Robertson Defendants believe that the

Complaint in the Action, as modified in the form attached hereto as Exhibit A, addresses the

Committee’s concerns relating to estate causes of action. As discussed herein, by the Action, as

amended, the Robertson Defendants are asserting their own direct claims against Ehrlich and the

Cuban Parties, not derivative or otherwise estate claims. If and to the extent the Committee is in

fact seeking to stay third parties’ direct claims against Ehrlich and the Cuban Parties, such request

is unjustified and should be denied by the Court for the reasons set forth in this Objection.

Moreover, such a position by the Committee would be inconsistent with creditors’ best interests

since the Committee’s constituents (i.e., the general unsecured creditors of the Debtors), to whom

the Committee owes a fiduciary duty, stand to benefit from recoveries from the Cuban Parties in

the Action.


       8.          On September 28, 2022, the Debtors filed a motion for authority to enter into an

asset purchase agreement with West Real Shires Inc. (“FTX”) [Bankr. Dkt. No. 472] (the “Sale

Motion”) to sell substantially all of Voyager Digital, LLC’s assets -- one implication of which is




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that the Proposed Plan will be amended to be a liquidating plan that effectuates the proposed sale.6

Based on the information provided so far by the Debtors, the proposed asset sale has nothing to do

with Cuban, and thus it presents no reason to stay the Action against Cuban. Indeed, the apparent

potential shortfall in recovery for the Debtors’ customers, taking into account the proposed sale

and estimated proceeds thereof, is in the billions of dollars.7 That is, under the Debtors’ proposed

sale / liquidating plan scenario, the Debtors’ customers will receive only a relatively small

recovery. Thus, customers pursuing and monetizing other sources of recovery, including the

customers’ direct, not estate, claims against the Cuban Parties through the Action, will be an

important and necessary process that should not be frustrated by the Court.

                         III. THE MOTION MUST BE DENIED UNDER
                               APPLICABLE SECOND CIRCUIT LAW

       9.          The Motion requests the Bankruptcy Court to enjoin the prosecution of the Action

under section 362 or, in the alternative, section 105(a). These provisions are distinct, and the

Debtors are not entitled to a stay of the Action against Cuban (or Ehrlich) under either statutory

predicate.

      10.          The Debtors bear the burden of proof in seeking the “extraordinary and drastic

remedy” of enjoining litigation against a non-debtor. See, e.g., Chase Manhattan Bank v. Third

6   The Robertson Defendants reserve all of their rights with respect to the Sale Motion, any modified plan, and/or
    any related filings.
7   The Debtors have represented in their consolidated unaudited financial statements (the most recent for the quarter
    ended March 31, 2022) that they hold more than $5.4 billion in crypto assets and fiat payable to customers. See
    also Declaration of Stephen Ehrlich, Chief Executive Officer of the Debtors, in Support of Chapter 11 Petitions
    and First Day Motions [Bankr. Dkt. No. 15] (“Ehrlich Declaration”), ¶ 19, p. 9. Under the proposed sale,
    customers would receive only about 25% of such amounts back. See Sale Motion, pp. 1-2 (FTX’s bid is comprised
    of “(i) the value of cryptocurrency on the Voyager platform as of a date to be determined, which, as of September
    26, 2022, is estimated to be $1.311 billion, plus (ii) additional consideration which is estimated to provide at least
    approximately $111 million of incremental value to the Debtors’ estates”).


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Eighty-Ninth Assoc. (In re Third Eighty-Ninth Assoc.), 138 B.R. 144, 146 (S.D.N.Y. 1992); In re

Anje Jewelry Co., Inc., 47 B.R. 485, 487 (Bankr. E.D.N.Y. 1983) (“[A] preliminary injunction is

an extraordinary and drastic remedy which should not be routinely granted except upon a clear

showing that the movant has carried its heavy burden;” citation omitted). Further, an injunction is

an equitable remedy issued at the Court’s discretion. eBay Inc. v. MercExchange, LLC, 547 U.S.

388, 391 (2006).

A.       The Action Against Non-Debtors Is Not Stayed by Section 362(a)(1).

       11.         By its terms, section 362(a)(1) of the Bankruptcy Code automatically stays the

commencement or continuation only of a proceeding “against the debtor” that arose before the

commencement of the case.                Nothing in section 362(a)(1) extends the stay to non-debtor

defendants merely because they have some affiliation with the debtor. Teachers Ins. & Annuity

Assn v. Butler, 803 F. 2d 61, 65 (2d Cir. 1986) (“It is well-established that stays pursuant to 362(a)

are limited to debtors and do not encompass non-bankruptcy co-defendants”).

       12.         Because the Action seeks redress in relation to non-debtor defendants and their

own respective malfeasance and independent liability to the Robertson Defendants, there is no

basis for any court to determine that the Debtors are a necessary party to the Action.8 See, e.g., In

re Metal Center, Inc., 31 B.R. 458, 462 (Bankr. D. Conn. 1983) (extension of stay inappropriate

where non-debtor defendant is independently liable as, for example, where the debtor and another


8    In specific regard to the Robertson Defendants’ direct claims against the Cuban Parties, see, e.g., Wildes v.
     Bitconnect Int’l PLC, 25 F.4th 1341, 1346-47 (11th Cir. 2022) (“We decline to adopt an interpretation that both
     contradicts the text and allows easy end-runs around the [Securities] Act…. When a person solicits the purchase
     of securities to serve his (or the security owner’s) financial interests, he is liable to a buyer who purchases those
     securities-whether that solicitation was made to one known person or to a million unknown ones.”).



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are joint tortfeasors or where the non-debtor’s liability rests upon his own breach of a duty);

Stanford v. Foamex L.P., 2009 U.S. Dist. LEXIS 32405 at *10-17 (E.D. Pa. April 15, 2009)

(District Court handling ERISA civil enforcement action refused to extend stay to non-debtor

defendants because the debtor (against whom the action was stayed) was not necessary to the

adjudication of ERISA action and the claims against non-debtor defendants were premised on their

own conduct).

      13.          The District Court for the Southern District of New York in Mardice v. Ebony

Media Operations, 2021 U.S. Dist. LEXIS 8520 (S.D.N.Y. Jan. 15, 2021), properly explained the

law in the Second Circuit:

                “[I]n situations where a codefendant is independently liable as, for example,
        where the debtor and another are joint tortfeasors or where the nondebtor’s liability
        rests upon his own breach of a duty, then the protection afforded a debtor under the
        automatic stay would clearly not extend to such nondebtor.” Thomson Kernaghan &
        Co. v. Glob. Intellicom, Inc., No. 99 CIV. 3005 (DLC), 2000 U.S. Dist. LEXIS 6650,
        2000 WL 640653, at *15 (S.D.N.Y. May 17, 2000) (quoting In re Metal Center, Inc.,
        31 B.R. 458, 462 (Bankr. D. Conn. 1983)) (declining to stay claims against nondebtor
        defendant where such claims were not “derivative of his status as Chairman and Chief
        Executive Officer of [debtor],” but rather are premised upon his “own conduct,
        including an alleged breach of his fiduciary duty”); see also, e.g., Cano v. DPNY,
        Inc., 287 F.R.D. 251, 262 (S.D.N.Y. 2012) (holding that the automatic stay did not
        apply to the proposed defendants where the plaintiffs alleged that the proposed
        defendants “are joint employers and, therefore, are jointly and severally liable to the
        plaintiffs for violations of the FLSA [Fair Labor Standards Act] and NYLL”). “This
        limitation on the unusual situation exception has been adopted in this district and by
        numerous other courts.” Variable-Parameter Fixture Dev. Corp. v. Morpheus
        Lights, Inc., 945 F. Supp. 603, 608 (S.D.N.Y. 1996) (citations omitted).

Id. at *8-*9. Thus, the law is clear in this Circuit that the requested stay will be denied where, as

in the instant matter, the action against the non-debtor party relates to the party’s own separate

wrongdoing harming the non-debtor plaintiff. See also, e.g., Hernandez v. Immortal Rise, Inc.,

2014 U.S. Dist. LEXIS 33823, at *12 (E.D.N.Y. March 13 2014) (a stay “should not be extended

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where the non-debtor is independently liable as, for example, where the debtor and another are

joint tortfeasors or where the nondebtor’s liability rests upon his own breach of duty”); Franco v.

Ideal Mortg. Bankers, Ltd., 2017 U.S. Dist. LEXIS 186194, at *5 (E.D.N.Y. Nov. 9, 2017)

(similar).

B.        The Action Against Non-Debtors Is Not Stayed by Section 362(a)(3).

       14.         In the Motion, the Debtors allude to potential indemnity claims of Cuban against

the estates, but have not asserted that Cuban is entitled to coverage under any of the Debtors’

insurance policies. Thus, there has been no allegation by the Debtors that prosecution of the Action

against Cuban will dissipate the proceeds of any estate insurance policies (as discussed above, the

Robertson Defendants consent to the stay of the Action against Ehrlich until the Stay Termination

Date).9

       15.         Moreover, even if Cuban (who is not an officer or director of the Debtors) were

covered under the Debtors’ insurance policies, it is important to consider that Cuban (or any other

covered person) may not be entitled to insurance coverage and/or may have to disgorge any

insurance proceeds (including for defense costs) if it is determined that he had committed fraud or

other exempted actions or acted in bad faith.

       16.         Additionally, the Debtors’ assertion of prejudice from possible indemnity claims of

Cuban should be viewed in the context of the entirety of the Chapter 11 Cases. Any unpaid

indemnification claims of Cuban relating to the Action (if and to the extent valid and not offset



9    In relation to Cuban as well as Ehrlich, if applicable, the Debtors must identify the specific insurance policies that
     are allegedly at risk of immediate diminution and disclose the per claim and aggregate limits and any limits on
     defense costs.


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against) would, at most, constitute general unsecured claims that would share a recovery pro rata

with other general unsecured claims under a confirmed plan.10 On the other hand, recoveries to

the Robertson Defendants and other class members resulting from the Action – i.e., the general

unsecured creditors of the Debtors other than Cuban – will be paid in 100 cent dollars by Cuban

and/or other defendants. In the foregoing case, the net effect for a particular unsecured creditor

may be neutral, or titled in favor of the Action against Cuban proceeding.

C.      The Debtors Have Not Met Their High Burden of Proof on Any of the Traditional
        Factors the Court Must Consider to Enjoin the Action Under Section 105(a) and
        Bankruptcy Rule 7065.

       17.         Section 105(a) of the Bankruptcy Code is the source of the Court’s power to enjoin

litigation against non-debtors.        A stay of litigation against non-debtors, however, is only

appropriate if the litigation threatens a debtor’s reorganization. In re Granite Partners, L.P., 194

B.R. 318, 337-38 (Bankr. S.D.N.Y. 1996) (denying injunction of third party lawsuits for failure to

show that lawsuits would frustrate reorganization efforts). Further, a stay of litigation against non-

debtors under section 105(a) must satisfy all the prerequisites for an injunction in the Second

Circuit, with respect to which the movant (the Debtors here) bears the burden of proof. 2 COLLIER

ON   BANKRUPTCY ¶105.03 (16th ed. 2022) (“Unlike the automatic stay, a request for relief under

section 105 must meet traditional requirements for an injunction, and must be presented and

prosecuted in traditional formats.”); In re Anje Jewelry Co., Inc., 47 B.R. at 487 (“The court may

issue a stay under section 105(a) only if the moving party satisfies the [] test established by the

Second Circuit for the issuance of a preliminary injunction.”).

10 The Robertson Defendants reserve all of their rights with respect to any indemnity or other claims that may be
   asserted by Cuban.


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      18.          Issuance of a preliminary injunction requires consideration of four factors: (1) the

likelihood of success on the merits, (2) any imminent, irreparable harm to the estate in the absence

of an injunction, (3) whether the balance of harms tips in favor of the moving party, and (4) whether

the public interest weighs in favor of an injunction. Winter v. Natural Resources Defense Council,

Inc., 55 U.S. 7, 20 (2008). See also In re Purdue Pharma L.P., 619 B.R. 38, 45-46 and 58-62

(S.D.N.Y. 2020) (applying traditional injunction criteria); Fisher-Price, Inc. v. Well-Made Toy

Mfg. Corp., 25 F.3d 119, 122 (2d Cir. 1994); Nev. Power Co. v. Calpine Corp. (In re Calpine

Corp.), 365 B.R. 401, 409 (S.D.N.Y. 2007).

               1.         The Debtors Have Failed to Prove the Likelihood of a Successful
                          Reorganization.

      19.          In the bankruptcy context, “likelihood of success” means the likelihood of a

successful reorganization. In re Calpine Corp., 354 B.R. 45, 50 (Bankr. S.D.N.Y. 2006); In re

Lyondell Chemical Co., 402 B.R. 571, 590 (Bankr. S.D.N.Y. 2009) (successful reorganization is

unknowable in the early days and may be a matter of whether the debtor is “on track,” but any

reasons to conclude that the debtor cannot reorganize weigh against this factor).

      20.          As discussed above, the Debtors have filed a patently unconfirmable, placeholder

plan – not supported by anyone other than the Debtors – that is missing key details including the

treatment of general unsecured claims. Such a deficient Proposed Plan cannot suffice in proving

the likelihood of the Debtors’ successful reorganization.


      21.          Furthermore, it is indisputable that the Proposed Plan is subject to very substantial

risks and uncertainties relating to federal and state securities law matters, including whether the



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Debtors’ digital and related assets are securities subject to federal and state regulation. The

Debtors at least acknowledge such risks.11 These material risks and uncertainties cast a dark

shadow over the prospects of the Proposed Plan or other reorganization plan, and could derail the

Debtors’ plan and/or sale process.12 See, e.g., Limited Objection of the Texas State Securities

Board [Bankr. Dkt. No. 186] at ¶ 25 (“Any bidder that ultimately becomes the final purchaser of

the Debtors’ Assets will be obligated to comply with all applicable state laws and regulations, just

as if the property had been purchased outside of bankruptcy.”); Supplemental Exhibit to the



11 See, e.g., Proposed Disclosure Statement [Bankr. Dkt. No. 288], p. 42 (“Consummation of the Restructuring
   Transactions may depend on obtaining approvals of certain Governmental Units that may be necessary or
   advisable. Failure by any Governmental Unit to grant an approval could prevent or impose limitations or
   restrictions on Consummation of the Restructuring Transactions and Confirmation of the Stand-Alone Plan.”); p.
   45 (listing certain risks/factors in Debtors’ reorganization and business, including “recategorization of a particular
   cryptocurrency asset’s or product offering’s status as a ‘security’ or ‘commodity’ in any relevant jurisdiction,
   which may result in greater regulatory scrutiny, investigations, fines, and other penalties”); p. 48 (“The Debtors’
   business is subject to extensive laws, rules, regulations, policies, orders, determinations, directives, treaties, and
   legal and regulatory interpretations and guidance in the markets in which the Debtors operate, including those
   governing money transmission, financial services, banks and trust companies, securities, broker dealers and
   alternative trading systems, or ATS, commodities and commodities interests such as derivatives, credit,
   cryptocurrency asset custody, exchange, and transfer, cross-border and domestic money and cryptocurrency asset
   transmission, retail and commercial lending, usury, foreign currency exchange, privacy, data governance, data
   protection, cybersecurity, fraud detection, retail protection, escheatment, antitrust and competition, bankruptcy,
   tax, anti-bribery, economic and trade sanctions, anti-money laundering, and counter-terrorist financing, among
   others… [S]ome applicable laws and regulations do not contemplate or address unique issues associated with the
   cryptocurrency economy, are subject to significant uncertainty, and vary widely across U.S. federal, state, and
   local and international jurisdictions…. To the extent the Debtors have not complied with such laws, rules, and
   regulations, the Debtors could be subject to significant fines, revocation of licenses …, limitations on their
   products and services, cease and desist orders in one or more states, reputational harm, and other regulatory
   consequences, each of which may be significant and could adversely affect their business, operating results, and
   financial condition.” The proposed Disclosure Statement has not been approved by the Court, and the Robertson
   Defendants have filed an objection thereto [Bankr. Dkt. No. 443]. The Robertson Defendants reserve all of their
   rights with respect to the proposed Disclosure Statement, and the references thereto herein are not indicative of
   any support of or consent by the Robertson Defendants to any portion of the proposed Disclosure Statement.
12 The Debtors are currently involved in numerous securities related matters and proceedings, alleging, inter alia,
   some or all of the Debtors’ digital assets/transactions constitute securities subject to extensive federal and state
   securities laws. See, e.g., Proposed Disclosure Statement, pp. 49-51 (since early 2022, Debtors have been the
   subject of many investigations, cease and desist orders, and other proceedings involving the SEC, the FDIC, the
   CFTC, Alabama, California, Georgia, Indiana, Kentucky, New Jersey, Oklahoma, South Carolina, Texas,
   Vermont, Washington, and Washington, D.C.). Such securities and other non-bankruptcy law matters indicate
   the extensive, complex, lengthy and costly hurdles in front of the Debtors’ reorganization and plan efforts.



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Limited Objection of the Texas State Securities Board [Bankr. Dkt. No. 221] (attaching letters

from 17 State Agencies and Attorney Generals’ Offices supporting the Texas State Securities

Board). The Debtors have failed to provide evidence and other support necessary to prove the

likelihood of the Debtors’ success under such circumstances.

               2.         There is No Risk of Imminent, Irreparable Harm to the Estates if the
                          Action Were to Proceed Against Cuban.

      22.          In the bankruptcy context, courts construe the risk of “imminent, irreparable harm”

to mean there must be an imminent and substantial threat to the reorganization process posed by

the action sought to be enjoined. Shapiro v. Cadman Towers, Inc., 51 F. 3d 328, 332 (2d Cir.

1995) (injury must be neither remote nor speculative, and actual and imminent). See also In re

Calpine Corp., 365 B.R. at 410 (“[T]he threat to the reorganization process must be imminent,

substantial and irreparable.”); FPSDA II, LLC v. Larin (In re FPSDA I, LLC), 2012 Bankr. LEXIS

5928, at *27 (Bankr. E.D.N.Y. Decl. 26, 2012) (“in keeping with the principle that extending the

stay to non-debtors is extraordinary relief, the party seeking extension of the stay must put forth

real evidence demonstrating an actual impact upon, or threat to, the reorganization efforts if the

stay is not extended” (emphasis in original)).

      23.          The Debtors have provided no evidence of any actual imminent and irreparable

harm that will stem from the Action proceeding against Cuban, and instead rely on general and

conclusory allegations.




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                          a.      The Possibility of Indemnity Claims Being Asserted Against
                                  Debtors By Non-Debtor Litigants Is Not a Dispositive Factor,
                                  and the Court Should Give Little, If Any, Weight to This
                                  Factor in the Instant Matter.

      24.          In the Motion, the Debtors assert that they “also face indemnity claims” from Cuban

relating to the Action (p. 3 n.3 and p. 16), and “[t]hese indemnification obligations warrant an

extension of the stay in this case” (p. 16). The Debtors have not explained to the Court and parties

in interest the nature and extent of Cuban’s alleged indemnity claims against the estate, and any

potential defenses, objections or offsets thereto (including, for example, any potential indemnity

or other claims of the estates against Cuban). Baseless, ambiguous assertions of potential

indemnification claims against the estate are clearly insufficient for extension or imposition of any

stay against the Action. See, e.g., N.J. Carpenters Health Fund v. Royal Bank of Scotland Grp.,

PLC, 564 B.R. 192, 195 (S.D.N.Y. 2016) (“The mere possibility of a future indemnification claim

will not support application of the automatic stay”); Mardice v. Ebony Media Operations, 2021

U.S. Dist. LEXIS 8520, at *12-*13 (S.D.N.Y. Jan. 15, 2021) (“in any case, the possibility that the

individual Defendants would be indemnified by Defendant Ebony alone is insufficient grounds for

extension of the automatic stay”); Le Metier Beauty Inv. Partners LLC v. Metier Tribeca, LLC,

2014 U.S. Dist. LEXIS 136152, at *10-*11 (S.D.N.Y. Sept. 25, 2014) (“Although a claim by

Blanch for indemnification ‘might lessen the overall percentage of a pro rata distribution to

creditors, such distributive adjustment does not damage the [Debtor’s] estate.’ In re First Cent.

Fin. Corp., 238 B.R. 9, 20 (Bankr. E.D.N.Y. 1999) (declining to extend a stay where there was no

threat of mass litigation and there was ‘no discernable harm’ if the non-debtor subsequently filed




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a claim for indemnification); see also Uto v. Job Site Servs., Inc., 444 B.R. 222, 224 (E.D.N.Y.

2011).”).13

                           b.       The Debtors Cannot Show That Prosecution of the Action Will
                                    Expose the Estates to Risks of Collateral Estoppel, Evidentiary
                                    Taint, or Other Preclusion Doctrines.

       25.         The Debtors claim that if the Action proceeds, the Debtors will face substantial

risks of collateral estoppel, record taint, evidentiary prejudice and the like. These claims are

baseless. Importantly, the Action, as amended, seeks certain relief only against Ehrlich and Cuban,

for each party’s own independent acts and liabilities to the Robertson Defendants.

       26.         Two requirements must be satisfied for the doctrine of collateral estoppel, also

referred to as issue preclusion, to apply. First, the identical issue must have been decided in a prior

action and be decisive in the present action. Second, the party to be precluded from re-litigating

the issue must have had an opportunity to fully and fairly contest the prior determination. Singleton

Mgmt. v. Compere, 673 N.Y.S. 2d 381, 383 (App. Div. 1st Dept. 1998) (citations omitted).

Collateral estoppel can only apply to matters “actually litigated and determined” against the party

to be precluded. Id. Likewise, res judicata or claim preclusion requires an identity of claims

between a prior and current action and privity of parties. Id.; see also Gramatan Home Investors

Corp. v. Lopez, 414 N.Y.S. 2d 308, 311 (1979) (“[A] person may not be precluded from litigating


13 If a court were to unduly emphasize the prospect of indemnity claims against the estate as a factor, viable actions
   against directors, officers and other parties related to the debtor, who may have indemnification rights, will be
   discouraged and undermined – a result which is neither justified by sound policy or equity. This Court
   contemplated similar, analogous concerns in the plan context. See In re Aegean Marine Petroleum Network, Inc.,
   599 B.R. 717, 729 (Bankr. S.D.N.Y. 2019) (Judge Wiles) (“Some courts have justified [plan] releases of officers
   and directors on the ground that the releases are necessary to protect the debtors from indemnification claims that
   the directors and officers might make. However, I fail to see how the possibility of an indemnification claim
   [against the estate] is a proper justification to take away the rights that claimants may have to pursue claims that
   they own directly against the officers and directors.”).


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issues resolved in an action in which that person was not a party.” (citations omitted)). The Debtors

are not parties to the Action, and therefore cannot be at risk of collateral estoppel or res judicata.

       27.         Indeed, if general concerns regarding the potential impact of pending litigation

were sufficient for imposition of a stay, a litigant could never continue litigation against a non-

debtor defendant that had some relationship to a debtor. In Queenie, Ltd. v. Nygard Int’l, 321 F.3d

282 (2d Cir. 2003)), the Second Circuit expressly rejected “apprehension” of collateral estoppel as

a basis for enjoining litigation against non-debtors:

         We have not located any decision applying the stay to a non-debtor solely because
         of an apprehended later use against the debtor of offensive collateral estoppel or the
         precedential effect of an adverse decision. If such apprehension could support
         application of the stay, there would be a vast and unwarranted interference
         with creditors’ enforcement of their rights against non-debtor co-defendants.

Id. at 288 (emphasis added; stay of judgment appeal applied to debtor and his wholly owned

corporation, but not to other co-defendant appellees). See also Franco v. Ideal Mortg. Bankers,

Ltd., 2017 U.S. Dist. LEXIS 186194, at *5-*6 (E.D.N.Y. Nov. 9, 2017) (“Instead, he claims that

a decision against him could have a ‘Res Judicata effect on [Lend America’s] bankruptcy trustee.’

… However, the Court is not convinced that this argument requires a deviation from the general

rule that automatic stays will not extend to non-debtors.”; citing and relying upon Queenie, 321

F.3d at 288).14


14 It borders on the frivolous for the Debtors to argue that they will suffer cognizable prejudice if legal issues --such
   as whether the Debtors’ customer transactions are securities subject to federal securities laws-- are adjudicated in
   the Action. First, as discussed above, any such rulings in the Action would only be binding on Cuban or Ehrlich,
   as applicable; collateral estoppel is patently inapplicable because the Debtors are not parties in, nor necessary
   parties in, the Action. Second, given the foregoing, the Debtors appear to want from the Court inoculation from
   any adverse precedent that may be set by rulings in the Action specifically and only against Cuban or Ehrlich.
   However, of course, that is not an available remedy, just as the Debtors cannot prevent litigants in the Celsius
   Network bankruptcy case (Case No. 22-10964 (MG)) and other digital asset cases from adjudicating the
   crypto/securities issues in those cases, which may result in adverse precedent for the Debtors in whatever position
   they may ultimately pursue.


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      28.          Finally, any claim of possible evidentiary or record taint if the Action were to

proceed makes no sense in the instant matter. As discussed above, the focus of the Action is the

separate malfeasance and direct liability of certain non-debtor parties to the Robertson Defendants,

not to the estates. If a separate action is commenced against the Debtors relating to matters raised

in the Action against Cuban and Ehrlich, the Debtors will have an opportunity to build the

evidentiary record in that separate action, which will be reviewed by the applicable neutral court.

While the law on certain matters in the Action may be unsettled, the facts relevant to the Action

are not subject to change. The facts are what they are and will remain as such in any future

litigation, and the Debtors cannot reasonably claim any prejudice in that regard.

                          c.       The Debtors Do Not Stand to Suffer Any Other Unreasonable
                                   Financial/Personnel Burdens Related to the Action.

      29.          With respect to discovery matters in the Action, the estates are not subject to any

undue and unfair burden in the event the Action were to proceed against Cuban in that the Debtors,

through a special committee, has been in midst of investigating matters related to potential causes

of action against insiders and other third parties (such as Cuban given his prominent public

promotional role15) and conducting discovery.16 In short, to the extent of any overlap in relevant


15 https://www.youtube.com/watch?v=aB9GpBOroIw (accessed September 30, 2022).

16 See Ehrlich Declaration [Bankr. Dkt. No. 15], ¶ 66, pp. 24-25 (“Voyager Digital LLC (‘OpCo’) formally formed
   a special committee (the ‘Special Committee’) on July 5, 2022, comprised of disinterested directors Timothy Pohl
   and Jill Frizzley. The Special Committee is vested with the authority to, among other things: … ● request
   documentation and information regarding OpCo’s business, assets, properties, liabilities and business dealings
   with respect to any historical transactions undertaken by OpCo that the Special Committee deems necessary and
   appropriate to review; … ● conduct an independent investigation with respect to any potential estate claims and
   causes of action against insiders of OpCo, including any claims arising from the 3AC Loan”). See also Debtor
   Voyager Digital, LLC’s Application for Entry of Order Authorizing Employment of Quinn Emanuel Urquhart &
   Sullivan, LLP as Special Counsel [Bankr. Dkt. No. 125], ¶ 14, p. 5 (“Quinn Emanuel expects to provide various
   legal services with respect to the Engagement, including, without limitation, interviewing and soliciting
   information from, and issuing document requests to, individuals and entities with knowledge, information, or
   documents relevant to the Special Committee’s Mandate.”), Exhibit 1 (Engagement Letter) (Quinn firm

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discovery matters, the Debtors are not starting from scratch, thus offsetting any arguments of

unfair, significant or unreasonable diversion of Debtors’ personnel and estate resources from the

chapter 11 cases.17

                3.        The Balance of Harms and Public Interest Weigh Against Enjoining
                          the Action.

       30.         As detailed above, the Debtors have failed to prove any cognizable, material harms

if the Action were to proceed against Cuban. In contrast, the Robertson Defendants continue to

remain uncompensated for non-debtor parties’ independent wrongdoing as set forth in the

Complaint, notwithstanding the Action’s stand-alone nature apart from the Debtors and their

chapter 11 cases.

       31.         Further, the public interest is not advanced by staying the Action against Cuban.

The Debtors’ chapter 11 is a high-profile case affecting many thousands of customers, a number

of which have filed letters and other pleadings expressing, inter alia, their fears and concerns over

their prepetition deposited funds. See, e.g., Docket Nos. 63, 69, 75, 76, 77, 90, 92, 93, 100, 101,

105, 108, 109, 111, 114, 122, 123, and 124 in Case No. 22-10943 (MEW). Enjoining a third party

action against a non-debtor party, seeking to hold the non-debtor party responsible for his own

acts, omissions and direct (and not estate) liabilities, serves no legitimate policy or purpose.

Indeed, allowing the Action to proceed against Cuban sends a clear and important message to the

    representing the “Special Committee” in connection with the “Special Committee Mandate,” covering “Special
    Committee’s (a) investigation of any historical transactions, public reporting, or regulatory issues undertaken by
    or relating to Voyager LLC, (b) investigation with respect to any potential estate claims and causes of action
    against insiders of Voyager LLC, and (c) any matters otherwise within the Special Committee’s mandate”).
17 Notably, the Debtors have not made any claim in the Motion, nor can they reasonably make a claim, that the
   estates will be prejudiced by Cuban having to devote his attention and time to the Action. There is no allegation
   of Cuban having a continuing role for the Debtors, which, as noted herein, proposes a sale / liquidating plan
   strategy.


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Debtors’ customers and other parties in interest that wrongdoers will be held accountable and

cannot improperly escape liability because of the Debtors’ chapter 11 case.

                                  IV.      CONCLUSION

        For the reasons set forth above, the Robertson Defendants respectfully request that the

Court enter an order denying the Motion and granting such further and other relief as may be just

and appropriate.




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                                      EXHIBIT A


                              Proposed Amended Complaint


                                      [To be filed]




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